     Case 3:21-cv-07559-WHA       Document 213-2   Filed 07/08/22    Page 1 of 2



 1

 2

 3

 4

 5

 6

 7

 8                               UNITED STATES DISTRICT COURT
 9                          NORTHERN DISTRICT OF CALIFORNIA,
10                                  SAN FRANCISCO DIVISION
11

12   SONOS, INC.,                                  Case No. 3:21-cv-07559-WHA
13                  Plaintiff,                     [PROPOSED] ORDER GRANTING
                                                   SONOS, INC.’S ADMINISTRATIVE
14         v.                                      MOTION TO FILE UNDER SEAL
                                                   DOCUMENTS FILED IN SUPPORT OF
15   GOOGLE LLC,                                   SONOS’S THIRD AMENDED
                                                   COMPLAINT
16                  Defendant.
17

18

19
20

21

22

23

24

25

26

27

28
                                                             [PROPOSED] ORDER GRANTING SONOS’S
                                                       ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                                                            3:21-CV-07559-WHA
     Case 3:21-cv-07559-WHA         Document 213-2        Filed 07/08/22      Page 2 of 2



 1          Pursuant to Civil Local Rule 79-5, Plaintiff Sonos, Inc. (“Sonos”) has filed an

 2   Administrative Motion to File Under Seal (“Administrative Motion”) in connection with Sonos,

 3   Inc.’s Third Amended Complaint (“Sonos’s TAC”). Having considered Sonos’s Administrative

 4   Motion, and good cause to seal having been shown, the Court GRANTS Sonos’s Administrative

 5   Motion and ORDERS sealed the following:

 6
                                                        PORTIONS TO BE              DESIGNATING
 7                 DOCUMENT                                SEALED                      PARTY
 8    Exhibit CC to Sonos’s TAC                    Entire Document                  Sonos
 9    Exhibit CE to Sonos’s TAC                    Entire Document                  Sonos
10

11

12   Dated: ______________, 2022
                                                               HON. WILLIAM H. ALSUP
13                                                             United States District Judge
14

15

16

17

18

19
20

21

22

23

24

25

26

27

28
                                                                     [PROPOSED] ORDER GRANTING SONOS’S
                                                    1          ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                                                                    3:21-CV-07559-WHA
